Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                           Document Page 1 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                           Document Page 2 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                           Document Page 3 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                           Document Page 4 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                           Document Page 5 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                           Document Page 6 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                           Document Page 7 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                           Document Page 8 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                           Document Page 9 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 10 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 11 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 12 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 13 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 14 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 15 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 16 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 17 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 18 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 19 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 20 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 21 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 22 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 23 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 24 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 25 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 26 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 27 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 28 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 29 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 30 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 31 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 32 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 33 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 34 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 35 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 36 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 37 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 38 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 39 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 40 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 41 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 42 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 43 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 44 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 45 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 46 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 47 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 48 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 49 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 50 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 51 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 52 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 53 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 54 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 55 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 56 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 57 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 58 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 59 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 60 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 61 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 62 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 63 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 64 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 65 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 66 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 67 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 68 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 69 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 70 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 71 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 72 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 73 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 74 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 75 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 76 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 77 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 78 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 79 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 80 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 81 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 82 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 83 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 84 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 85 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 86 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 87 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 88 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 89 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 90 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 91 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 92 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 93 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 94 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 95 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 96 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 97 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 98 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 99 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 100 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 101 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 102 of 103
Case:18-05288-EAG11 Doc#:242 Filed:09/20/19 Entered:09/20/19 12:22:04   Desc: Main
                          Document Page 103 of 103
